                           IN THE UNITED STATES COURT
                       FOR THE NORTHERN DISTRICT OF IOWA

AD HOC COMMITTEE OF EQUITY
SECURITY HOLDERS OF VEROBLUE
FARMS and its Subsidiaries and Affiliates,              Case No. 3:19-cv-3018

                               Appellant,

vs.

VEROBLUE FARMS USA, INC., ET AL.,

                               Appellee.



                              APPELLANT STATEMENT OF ISSUES


        1.      Whether the Ad Hoc Committee of Equity Security Holders of Veroblue Farms
and its subsidiaries and affiliates (“AHEC”) complied with Federal Rule of Bankruptcy
Procedure 2019 in the disclosures dated: January 13, 2019 (Docket No. 247); February 27, 2019
(Docket No. 331); March 12, 2019 (Docket No. 356); and March 15, 2019 (Docket Nos. 372).


       2.      Notwithstanding Bankruptcy Court of the Northern District of Iowa Local Rule
(“LR”) 9029-1, whether the trial erred in: (a) overruling the AHEC’s objection to an evidentiary
hearing (“Hearing”), witness testimony and documentary evidence (“collectively, the
“Evidence”) at the March 13, 2019, and (b) considering the Evidence in its ruling, when the
Evidence was disclosed to the AHEC immediately prior to the Hearing, in violation of LR 9014-
1, 9070-1, and 9073-2 and Federal Rules of Civil Procedure 26 (as made applicable by Federal
Rule of Bankruptcy Procedure 7026).




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